              Case 22-60043 Document 143 Filed in TXSB on 09/12/22 Page 1 of 4




                          IN THE UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

 In re:                                               §                   Case No. 22–60043
                                                      §
 FREE SPEECH SYSTEMS, LLC,                            §                        Chapter 11
                                                      §                       Subchapter V
               Debtor.                                §


         THE TEXAS PLAINTIFFS’ WITNESS AND EXHIBIT LIST FOR HEARING
                SCHEDULED FOR SEPTEMBER 13, 2022 AT 1:00 P.M.


              Neil Heslin, Scarlett Lewis, Leonard Pozner, Veronique De La Rosa, and Marcel Fontaine

(collectively, “Texas Plaintiffs”), creditors and parties-in-interest in the above-captioned case, file

their Witness and Exhibit List for the hearing to be held on September 13, 2022, at 1:00 p.m.

(prevailing Central Time) as follows:

                                               WITNESSES

              The Sandy Hook Plaintiffs may call the following witnesses at the Hearing:

                 1. Jarrod B. Martin.

                 2. Any witness called or designated by any other party.

                 3. Any witness necessary to rebut the evidence or testimony of any witness offered or
                    designated by any other party

                                                EXHIBITS
    EXHIBIT




                                                                         OBJECT

                                                                                  ADMIT
                                                                 OFFER
                                                          MARK




                                                                                                DISPOSITION
                                                                                          W/D




                            DESCRIPTION
                                                                                                AFTER TRIAL


       1.         Email chain (September 2 –
                  September 8, 2022) regarding PQPR
                  Discovery [ECF 137-3]




TEXAS PLAINTIFFS’ WITNESS AND EXHIBIT LIST FOR HEARING ON SEPTEMBER 13, 2022                       PAGE | 1
             Case 22-60043 Document 143 Filed in TXSB on 09/12/22 Page 2 of 4




   EXHIBIT




                                                                         OBJECT

                                                                                  ADMIT
                                                                 OFFER
                                                          MARK
                                                                                                DISPOSITION




                                                                                          W/D
                            DESCRIPTION
                                                                                                AFTER TRIAL


      2.         Second Interim Order Authorizing
                 Debtor’s Use of Cash Collateral and
                 Providing Partial Adequate
                 Protection [ECF 98]
      3.         Any document or pleading filed in the
                 above-captioned main cases

      4.         Any exhibit necessary for
                 impeachment and/or rebuttal
                 purposes

      5.         Any exhibit identified or offered by
                 any other party



                                      RESERVATION OF RIGHTS

             The Sandy Hook Plaintiffs reserve the right to call or to introduce one or more, or none, of

the witnesses and exhibits listed above, and further reserve the right to supplement this list prior

to the Hearing.

             Dated: September 12, 2022


                                                             MCDOWELL HETHERINGTON LLP

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TEXAS PLAINTIFFS’ WITNESS AND EXHIBIT LIST FOR HEARING ON SEPTEMBER 13, 2022                       PAGE | 2
        Case 22-60043 Document 143 Filed in TXSB on 09/12/22 Page 3 of 4




                                                      AND

                                                      CHAMBERLAIN, HRDLICKA, WHITE,
                                                           WILLIAMS & AUGHTRY, PC

                                                      By: /s/ Jarrod B. Martin
                                                      Jarrod B. Martin
                                                      Texas Bar No. 24070221
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                                                      Houston, Texas 77002
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                                                      Bankruptcy Counsel for the Texas Plaintiff




TEXAS PLAINTIFFS’ WITNESS AND EXHIBIT LIST FOR HEARING ON SEPTEMBER 13, 2022           PAGE | 3
        Case 22-60043 Document 143 Filed in TXSB on 09/12/22 Page 4 of 4




                                     Certificate of Service

       I certify that on September 12, 2022, 2022, I caused a copy of the foregoing document to
be served by the Electronic Case Filing System for the United States Bankruptcy Court for the
Southern District of Texas.

                                                      /s/ Jarrod B. Martin
                                                      Jarrod B. Martin




TEXAS PLAINTIFFS’ WITNESS AND EXHIBIT LIST FOR HEARING ON SEPTEMBER 13, 2022           PAGE | 4
